
34 N.Y.2d 882 (1974)
Lenore Ellish, Appellant,
v.
Airport Parking Company of America, Inc., Respondent.
Court of Appeals of the State of New York.
Argued June 12, 1974.
Decided June 27, 1974.
Leonard N. Shapiro and William S. Infeld for appellant.
Samuel N. Greenspoon and Robert Swaybill for respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, RABIN and STEVENS.
Order affirmed, with costs, on the opinion by Mr. Justice JAMES D. HOPKINS at the Appellate Division.
